      Case: 1:24-cv-01841 Document #: 1 Filed: 03/05/24 Page 1 of 6 PageID #:1




                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

     Zheng

                             Plaintiffs,
                                                                                 Civil Action No.
                    v.
                                                                                 COMPLAINT
    THE ENTITIES AND INDIVIDUALS IDENTIFIED                                      JURY TRIAL DEMANDED
    IN SCHEDULE A


                             Defendants.




                 COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

          Plaintiffs, Zheng (hereinafter referred to as “ Plaintiff ” ), by and through their

undersigned counsel, bring this Complaint against Defendants, The Individuals,

Partnerships, and Unincorporated Associations Identified on Schedule “A” ((herein

collectively referred to as “Defendants”) which will be filed as an exhibit hereto under seal,

and in support thereof, states as follows1:

                                            INTRODUCTION

           1.      This is a civil action for design patent infringements pursuant to the Patent

    Act, 35 U.S.C. § 101 et seq., including 35 U.S.C. § 271.

           2.       Plaintiff owns one (1) United States Design Patent, (hereinafter “Patent-

    in-Suit”). Plaintiff’s Patent has been registered with the United States Patent and


1
 Since it is unknown when Plaintiff’s forthcoming Ex-Parte Motion for Entry of Temporary Restraining
Order, Preliminary Injunction, and Order Restraining Transfer of Assets will be ruled on, Plaintiff’s name has
been removed to prevent Defendants from getting advanced notice. Plaintiff will file an Amended Complaint
under seal that identifies Plaintiff and provides additional information and allegations
                                                      1
 Trademark Office (“USPTO”)
   Case: 1:24-cv-01841      and is #:
                        Document   protected
                                      1 Filed:from infringement
                                               03/05/24  Page 2 under federal #:2
                                                                of 6 PageID   patent

 law.

         3.      On information and belief, Defendants create online marketplace stores

 operating under on or more Seller Aliases that are making, using, offering for sale, selling,

and/or importing into the United States for subsequent sale or use Infringing Products to

unknowing consumers.

         4.      Plaintiff has been, and continues to be, irreparably harmed by Defendants’

 infringement of Plaintiff’s Patent-in-Suit. Plaintiff, therefore, seeks injunctive relief to halt

 such infringement and irreparable harm.


                                           PARTIES

         5.      Plaintiff is the inventor and owner of the Patent-in-Suit. A true and

 correct copy of Plaintiff’s Patent will be attached to the Complaint as Exhibit 1

 (filed under seal) .

         6.      Upon information and belief, Defendants are individuals and business

 entities who own and/or operate one or more of the online marketplace stores,

 sell and/or offer to sell infringing products through various “storefronts” via online retail

 websites accepting U.S. Dollars.

        7.      At present, many of the Defendants can only be identified through their

 storefronts and other limited publicly available information. Plaintiffs will take

 appropriate steps t o amend its Complaint as needed if Defendants provide additional

 credible information regarding their identities.

        8.      Upon information and belief, Defendants will continue to register or

 acquire new seller identification aliases and domain names for the purpose of selling and

 offering for sale goods bearing infringing and counterfeit reproductions of Plaintiff’s

 Patent unless preliminarily and permanently enjoined.

                                                2
       9. 1:24-cv-01841
    Case:     Plaintiff hasDocument
                            and will continue to suffer
                                       #: 1 Filed:      damages
                                                   03/05/24     as a3result
                                                             Page           of Defendants’
                                                                      of 6 PageID   #:3

 patent infringements unless injunctive and monetary relief is awarded by this Honorable

 Court.



                               JURISDICTION AND VENUE

          10.    This is an action for infringement of the Patent arising under 35

U.S.C. §§ 271(a), 281, and 284 - 85. This Court has subject matter jurisdiction over this

action under 28 U.S.C. §1331 and §1338(a).

          11.    Each Defendant sells and/or offers to sell infringing products through

 various “storefronts” via online retail websites accepting U.S. Dollars through online

 marketplaces such as Amazon, Alibaba, TEMU, Walmart, as well as any and all as yet

 undiscovered accounts with additional online marketplaces through which each

 Defendant targets residents in this judicial district and, upon information and belief, ships

 infringing products to residents within the Northern District of Illinois. Thus, each

 Defendant is committing, inter alia, patent infringement in this District.

          12.    Venue in the Northern District of Illinois is proper pursuant to 28 U.S.C. §

 1391 because a substantial part of the events that give rise to the claim occur within this

 District, each Defendant has committed acts of infringement in and has significant contacts

 within this District, and each Defendant is selling or offering to sell the infringing

 products in the product listings targeted at this District.



                                   COUNT I
                      INFRINGEMENT OF U.S. DESIGN PATENT
                                 35 U.S.C. § 271


          13.    The registration for Plaintiff’s Patent is valid, unrevoked and uncanceled.

          14.    Plaintiff is the inventor and owner of the United States Design Patent at


                                                 3
issue in this
   Case:      lawsuit.
           1:24-cv-01841 Document #: 1 Filed: 03/05/24 Page 4 of 6 PageID #:4

        15.     Plaintiff is the owner of all right, title and interest in and to the designs

covered by the Plaintiff’s Patent, and Plaintiff is entitled to receive all damages and the

benefits of all other remedies for Defendants’ infringements

        16.     Without Plaintiff’s permission or authorization, Defendants have infringed

one or more of Plaintiff’s exclusive rights relating to the federally registered Plaintiff’s

Patent by importing, manufacturing, offering for sale, and/or selling Counterfeit Copies

which embody the design covered by Plaintiff’s Patent directly or through intermediaries.

        17.     Upon information and belief, Defendants have been and are now infringing

the claim of the patent in the State of Illinois, in this judicial district, and other

jurisdictions in the United States by selling or offering to sell the infringing the Patent-

in-suit. The Defendants are directly infringing, literally infringing, and/or infringing

the Patent under the doctrine of equivalents.

        18.     Defendants are making, using, offering for sale, selling, and/or importing

into the United States for subsequent sale or use Infringing Products that infringe directly

and/or indirectly the Patent-in-suit.

        19.     Defendants’ Counterfeit Copies have an overall appearance that is

confusingly similar to the claimed designs in the Plaintiff’s Patent.

        20.     The foregoing acts of infringement have been willful, intentional, and

purposeful, in disregard of and indifferent to Plaintiff’s rights in the Patent. Defendants’

unlawful actions have caused and are continuing to cause unquantifiable and irreparable

harm and unquantifiable damages to Plaintiff and are unjustly enriching themselves at

Plaintiff’s expense.

        21.     Defendants’ conduct has caused and will continue to cause Plaintiff

substantial damages, including irreparable harm, for which Plaintiff has no adequate

remedy at law, unless and until Defendant is enjoined from infringing the Plaintiff’s
                                                4
Patent.
   Case: 1:24-cv-01841 Document #: 1 Filed: 03/05/24 Page 5 of 6 PageID #:5

        22.     Plaintiff is entitled to injunctive relief, as set forth below, because of the

continuing infringements of Plaintiff’s Patent and because of the significant threat of

future infringement as evidenced herein.


                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully requests that this Court enter:

1.      a judgment in favor of Plaintiffs that Defendants have infringed the Patents-in-Suit;

2.      Entry of temporary, preliminary, and permanent injunction; enjoining Defendants

and their officers, directors, agents, servants, affiliates, employees, divisions, branches,

subsidiaries, parents, and all others         acting in active concert therewith from

infringement, inducing the infringement of, or contributing to the infringement of the

claimed patent, or such other equitable relief the Court determines is warranted;

3.      a judgment and order requiring Defendants pay to Plaintiffs their damages, costs,

expenses, lost profits, and prejudgment and post-judgment interest for Defendants’

infringement of the Patents-in-Suit as provided under 35 U.S.C. § 284, and an accounting

of ongoing post-judgment infringement;

4.      a determination that this is an exceptional case within the meaning of 35 U.S.C. §

285 and an award to Plaintiffs the costs, expenses, and reasonable attorneys' fees incurred

in this action; and

5.      that, upon Plaintiffs’ request, all in privity with Defendants and with notice of the

injunction, including but not limited to any online marketplace platforms, such as Alibaba,

Temu, Ali Express, Amazon, DH Gate, eBay, Newegg, Shopify, Wish, and vendors of

sponsored search terms or online ad-word providers, financial services providers,

including but not limited to credit card providers, banks, merchant account providers,

third party payment processors, web hosts, and Internet search engines, such as Google,


                                              5
Bing, and Yahoo
   Case:        shall:
          1:24-cv-01841 Document #: 1 Filed: 03/05/24 Page 6 of 6 PageID #:6

        a. cease providing services used by Defendants, currently or in the future, to sell or

offer for sale goods under the claimed patent;

        b. cease displaying any advertisements in any form, connected or associated with

Defendants in connection with the sale of infringing goods under the claimed patent;

and

        c. disable all links to the marketplace accounts identified on schedules from

displaying in search results, including from any search index.

6.         Entry of an Order for such other and further relief as the Court may deem just

and proper.




                              DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable by right.



DATED March 5, 2024                                    Respectfully submitted,
                                                       Concord & Sage PC

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                                                       ATTORNEY FOR PLAINTIFF




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